Case 2:17-cr-00260-AJS Document 382-3 Filed 05/11/22 Page 1of1

To whom this concern,

| would like to thank you for this Opportunity to write on Deron’s behalf to try to paint a picture
of his character and who he is as a person. | knew Deron for about 7 years now, since he was 19 years
old. I’m the Fiancé of his older brother. Deron is like a little brother to me, we all call him “man man”
because he always acted older than his age as if he was the “older brother’. He takes the responsibility
to man up and provides for his family. But above all Deron is a loving, caring man, brother, and a great
father to his only little girl that misses him dearly.

Deron was raised by a single mother with 4 other Siblings in a low poverty neighborhood. He
recently lost his mother that he cherished dearly to a heart attack & that took a toll on his life. This is no
excuse to defend his actions in breaking the law and any crime committed. But | believe sometimes we
let “life and trails” knock us off course.

lam a Christian woman, and since Deron been incarcerated we have been writing back and
forth communicating. | believe everything happens for a reason and that this prison time and isolation is
a learning lesson. Deron is now a man of God with strong faith, he is completely sorry about his actions
and is ready to do anything to be forgiving and presented another chance at freedom and to be a great
father and raise his only daughter. He wants to use his past mistakes as a living testimony to talk &
motivate other young men to live for Christ and not fall weak to the same path as he did. | strongly
believe that he is a changed man, and | am always praying on his behaif.

As you know you have a big Impact on his future, | pray and hope that he can get another shot
at life and be all he can be, living for God and appreciating freedom.

Thank you and God bless.

Gavi $e Neil

Exhibit C
